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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF FLORIDA
                            FORT LAUDERDALE DIVISION

     Case No.                                     -CV-

     KERRY ROTH, on behalf of herself and            )
     all others similarly situated,                  )
                                                     )
                                   Plaintiff,        )
                                                     )
     v.                                              )
                                                     )
     GEICO GENERAL INSURANCE                         )
     COMPANY; GOVERNMENT                             )
     EMPLOYEES INSURANCE COMPANY;                    )
     GEICO INDEMNITY COMPANY; AND                    )
     GEICO CASUALTY COMPANY                          )
                                                     )
                                                     )
                                   Defendants.       )
                                                     )
                                                     )
                                                     )

                           DEFENDANTS’ NOTICE OF REMOVAL

            Pursuant to 28 U.S.C. §§ 1332, 1441, 1446 and 1453, Defendants GEICO General

     Insurance Company, Government Employees Insurance Company, GEICO Indemnity

     Company, and GEICO Casualty Company (collectively, “GEICO” or “Defendants”)

     gives notice of removal of the action captioned Kerry Roth v. GEICO General Insurance

     Company et al., Case No. CACE-16-016030, on the docket of the Circuit Court for the

     17th Judicial Circuit, in and for Broward County, Florida. In support of this removal,

     GEICO states as follows:

                                  FACTUAL BACKGROUND

            1.      On or about August 30, 2016, Plaintiff Kerry Roth filed a putative state

     court class action against GEICO in the Circuit Court for the 17th Judicial Circuit, in and



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     for Broward County, Florida, styled Kerry Roth v. GEICO General Insurance Company

     et al., Case No. CACE-16-016030 (the “State Court Action”). On November 8, 2016,

     before serving the original complaint, Plaintiff filed an Amended Class Action

     Complaint. Plaintiff filed a Second Amended Class Action Complaint on November 16,

     2016.

             2.     On November 21, 2016, GEICO waived service of the Second Amended

     Class Action Complaint.

             3.     This Notice of Removal is therefore timely filed pursuant to 28 U.S.C. §

     1446(b).

             4.     The State Court Action purports to assert causes of action on behalf of two

     putative classes for breach of contract and declaratory relief. The asserted claims arise

     out of GEICO’s alleged policy and practice of refusing to pay sales tax and state and

     local regulatory fees on insured leased vehicles that are declared a total loss in violation

     of standardized policy language providing coverage for these taxes and fees. 1 2d Am.

     Class Action Compl. ¶ 3.

             5.     Plaintiff seeks certification of two classes. Class A consists of: “All

     insureds, under a policy issued by GEICO General Insurance Company in the State of

     Florida, covering a leased vehicle, who sustained a total loss to said vehicle and who,

     within the five year time period prior to the date on which this lawsuit was filed till the

     date of any certification order, received payment from GEICO General Insurance




     1
       Defendants do not admit the underlying facts or allegations and expressly deny any
     liability to Plaintiff and the putative class. Defendants reserve their rights to challenge
     the legal sufficiency of the allegations in the Complaint.


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     Company for said loss, which payment did not include ACV Sales Tax 2 or state and local

     regulatory fees for the loss of said vehicle.” Id. ¶ 27. Class B consists of: “All insureds,

     under policies issued by Geico General Insurance Company; Government Employees

     Insurance Company; Geico Indemnity Company; and Geico Casualty Company; in the

     State of Florida, covering a leased vehicle, who sustained a total loss to said vehicle and

     who, within the five year time period prior to the date on which this lawsuit was filed till

     the date of any certification order, received payment from any of the aforementioned

     insurance companies, which payment did not include ACV Sales Tax or state and local

     regulatory fees for the loss of said vehicle.” Id. ¶ 27.

            6.      Plaintiff seeks recovery on behalf of herself and the respective classes for

     compensatory damages, pre- and post-judgment interest, costs, attorney fees, payment of

     ACV Sales Tax and state and local regulatory fees, declaratory relief mandating the

     payment of ACV Sales Tax and state and local regulatory fees and such other relief as

     deemed appropriate. Id. ¶¶ 33, 34, 38.

                                   GROUNDS FOR REMOVAL

            7.      This case is removable pursuant to the Class Action Fairness Act of 2005

     (“CAFA”). See 28 U.S.C. §§ 1332(d), 1453. CAFA extends federal jurisdiction over

     class actions where: (1) any member of the proposed class is a citizen of a state different

     from any defendant (i.e., minimal diversity exists); (2) the proposed class consists of

     more than 100 members; and (3) the amount in controversy is $5,000,000 or more,

     aggregating all claims, but excluding interest and costs. See 28 U.S.C. §§ 1332(d)(2),




     2
       “Actual Cash Value” or “ACV” is defined in the Amended Class Action Complaint as
     sales tax and state and local regulatory fees. Sec. Am. Class Action Compl. ¶ 1.


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     1332(d)(5)(B). As described below, Defendants believe in good faith that each of these

     requirements is met here.

            A.      Minimal Diversity Exists

            8.      In accordance with 28 U.S.C. § 1332(d)(2)(A), there is diversity in this

     action. The State Court Action alleges that Plaintiff Kerry Roth is a person residing in

     Boca Raton, Florida. 2d Am. Class Action Compl. ¶ 6. GEICO General Insurance

     Company, Government Employees Insurance Company, GEICO Indemnity Company

     and GEICO Casualty Company are all foreign corporations incorporated under the laws

     of Maryland, with their principal places of business in Maryland, and are therefore

     citizens of Maryland for diversity purposes. Accordingly, there is diversity of citizenship

     under CAFA.

            B.      Proposed Class Consists of More than 100 Members

            9.      Plaintiff brings this action on behalf of two putative classes. Id. ¶ 27; see

     supra ¶ 5.

            10.     While the precise number of putative class members is unknown, Plaintiff

     alleges that because “the Defendants collectively are one of the largest, if not the largest,

     motor vehicle insurer in the State of Florida, the classes of persons affected by the

     Defendants’ unlawful practice consists of thousands of individuals.” Sec. Am. Class

     Action Compl. ¶ 30.

            11.     Accordingly, the putative class consists of more than 100 members,

     satisfying the requirements of CAFA.




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             C.      Amount in Controversy Exceeds $5,000,000

             12.     In the removal context, the assessment of whether the amount-in-

     controversy requirement is satisfied does not center on what damages the plaintiff will

     ultimately recover, if any, but on what amount is in controversy between the parties.

     Angrignon v. KLI, Inc., No. 08-81218-CIV, 2009 WL 506954, at *2 n.3 (S.D. Fla. Feb.

     27, 2009); see also Pretka v. Kolter City Plaza II, Inc., 608 F.3d 744, 754 (11th Cir.

     2010) (“[A] removing defendant is not required to prove the amount in controversy

     beyond all doubt or to banish all uncertainty about it,” and “[t]he law does not demand

     perfect knowledge or depend any less on reasonable inferences and deductions than we

     all do in everyday life.”).

             13.     Although the complaint does not specify the exact dollar amount of the

     damages being sought by Plaintiffs and the putative class, based on the substance and

     scope of the claims that are asserted and the remedies requested, Defendants are informed

     and believe in good faith that the amount in controversy exceeds $5,000,000, exclusive of

     interest and costs.

             14.     Plaintiff brings this action on behalf of two putative classes. 3 Sec. Am.

     Class Action Compl. ¶ 27, see supra ¶ 5. The putative classes are defined as all insureds

     with a GEICO policy issued in the state of Florida covering a leased vehicle who

     sustained a total loss to said vehicle and who received payment from GEICO for said

     loss, which payment did not include ACV Sales Tax or state and local regulatory fees.



     3
       The two classes asserted in the complaint are essentially identical. The first class is
     asserted on behalf of GEICO General Insurance company insureds, while the second
     class is asserted on behalf of Government Employees Insurance Company, GEICO
     Indemnity Company, and GEICO Casualty company insureds. Sec. Am. Class Action
     Compl. ¶ 27.


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     Id. The term “ACV Sales Tax” is defined as “sales tax equal to at least six percent of the

     cash value of the insured vehicle at the time of the loss,” plus local sales tax of up to

     1.5% that some counties impose. Sec. Am. Class Action Compl. ¶ 2.

            15.     During the period August 2011 through October 2016, there were

     approximately 136,032 total loss claims made on Florida automobile policies issued by

     GEICO, resulting in total loss claim payments in excess of $1,000,000,000.

            16.     The total amount paid on these total loss claims is approximately

     $1,396,814,777. 4

            17.     GEICO does not have complete data with respect to which total loss

     payments were made for leased vehicles.

            18.     GEICO’s records indicate whether a vehicle is leased or owned for only

     23,477 of the 136,032 total loss claims potentially at issue. Of those 23,477 total loss

     claims, 1,756 claims, or approximately 7.4%, are identified as leased vehicles. The total

     amount paid on total loss claims for identified leased vehicles was over $37,000,000,

     with an average total loss payment of approximately $21,000. If, as alleged, GEICO

     were responsible for paying Florida’s 6% state tax and an additional local sales tax of

     1.5% for up to $5,000 for each of these leased vehicle total loss claims, that amount

     would be approximately $2.3 million.

            19.     Regarding the remaining 112,555 total loss claims for which GEICO’s

     systems do not reflect whether the claim involves a leased vehicle, by extrapolating a

     similar 7.4% rate of leased vehicles across that population of total loss claims,



     4
       This number includes certain fees, such as towing and storage, which can only be
     separated out by a manual claim file review. This amount does not include rental or
     injury payments.


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     Defendants reasonably believe that there may be an additional 8,239 total loss claims

     involving leased vehicles. 5 If, as alleged, GEICO were responsible for paying Florida’s

     6% state tax and an additional local sales tax of 1.5% for up to $5,000 for each of these

     leased vehicle total loss claims, that amount would be approximately $11.4 million.

            20.      Based on the above estimates and the allegations set forth by Plaintiff the

     amount in controversy in the Amended Class Action Complaint exceeds $13 million, in

     addition to state and local regulatory fees, the potential value of declaratory relief

     requested, and attorneys’ fees under Fla. Stat § 627.428. 2d Am. Class Action Compl.

     ¶¶ 34, 36-38.

            21.      Accordingly, while Defendants do not concede that Plaintiff or members

     of the proposed classes are entitled to the damages sought, they believe in good faith that

     the amount in controversy exceeds the sum or value of $5,000,000 if certified, including

     compensatory damages, attorneys’ fees, payment of state and local sales tax and

     regulatory fees, and declaratory relief, all of which are sought in the State Court Action.




     5
      The number of new vehicles leased annually in the United States ranges from 20% in
     2010 to 32.3% in 2016. See “New and Used Passenger Car Sales and Leases,”
     Bureau of Transportation Statistics,
     http://www.rita.dot.gov/bts/sites/rita.dot.gov.bts/files/publications/national_transportation
     _statistics/html/table_01_17.html (lasted visited 10/17/2016) and “Record Vehicle
     Leasing Could Pinch New Auto Margins,” Wall Street Journal, March 6, 2016
     http://www.wsj.com/articles/record-vehicle-leasing-could-pinch-new-auto-margins-
     1457294745 (last visited 10/17/2016). In addition, approximately 3.8% of all used cars
     are leased. See “Too many used cars? Lease them,” Automotive News, 4/16/2016,
     http://www.autonews.com/article/20160416/RETAIL04/304189964/too-many-used-
     cars%3F-lease-them (last visited 10/17/2016). Based on these figures, GEICO’s
     application of a 7.4% ratio of leased to non-leased vehicle total loss claims for purposes
     of removal is a conservative estimate.


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                           COMPLIANCE WITH REMOVAL STATUTE

             22.       The Notice of Removal was properly filed in the United States District

     Court for the Southern District of Florida because the Circuit Court of 17th Judicial

     Circuit in and for Broward County is located within the Southern District of Florida.

     Venue for removal is therefore proper because this is the “district and division embracing

     the place where such action is pending.” 28 U.S.C. § 1441(a).

             23.       The Notice of Removal is signed pursuant to Rule 11 of the Federal Rules

     of Civil Procedure. 28 U.S.C. § 1446(a).

             24.       This Notice of Removal is timely under 28 U.S.C. § 1446(b), as it is filed

     within thirty (30) days of service.

             25.       Pursuant to 28 U.S.C. § 1446(a), attached hereto as Exhibit 2 are copies of

     all process documents, pleadings and orders filed with the court by Plaintiff with respect

     to this action.

             26.       Pursuant to 28 U.S.C. § 1446(d), a copy of this Notice of Removal is

     being served upon counsel for Plaintiff and a copy, along with a Notice to Clerk of

     Removal, will be promptly filed with the Clerk of the Circuit Court of 17th Judicial

     Circuit in and for Broward County, Florida.

                                             CONCLUSION

             For the foregoing reasons, GEICO respectfully requests that this Court exercise

     jurisdiction over this action and enter orders and grant relief as may be necessary to

     secure removal and to prevent further proceedings in this matter in the Circuit Court of

     the 17th Judicial Circuit in and for Broward County.




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           This 14th day of December, 2016.

                                              Respectfully submitted,

                                              By: s/ Amelia Toy Rudolph
                                              Amelia Toy Rudolph
                                              Florida Bar No. 57015
                                              999 Peachtree Street, N.E.
                                              Suite 2300
                                              Atlanta, Georgia 30309-3996
                                              Tel: (404) 853-8000
                                              Fax: (404) 853-8806
                                              amelia.rudolph@sutherland.com

                                              Attorney for Defendants
                                              GEICO GENERAL INSURANCE
                                              COMPANY; GOVERNMENT EMPLOYEES
                                              INSURANCE COMPANY;
                                              GEICO INDEMNITY COMPANY; and
                                              GEICO CASUALTY COMPANY




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                                 CERTIFICATE OF SERVICE

            The undersigned hereby certifies that a true and correct copy of the foregoing

     Defendants’ Notice of Removal was served by first class mail, postage prepaid, upon the

     attorneys listed below, on this 14th day of December, 2016:


     Christopher J. Lynch, P.A.               Edmund A. Normand
     Clynch@hunterlynchlaw.com                Ed@EdNormand.com
     6915 Red Road, Suite 208                 Normand Law PLLC
     Coral Gables, Florida 33143              62 W. Colonial Drive
     Telephone: (305) 443-6200                Suite 209
     Facsimile: (305) 443-6204                Orlando, Florida 32801
     Attorney for Kerry Roth                  Telephone: (407) 603-6031
                                              Facsimile: (509) 267-6468
                                              Attorney for Kerry Roth


                                                 s/ Amelia Toy Rudolph
                                                 Amelia Toy Rudolph
                                                 Florida Bar No. 57015




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